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                                            601 South Figueroa Street, Suite 2500
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                                            Telephone: 213 623 9300
                                          6 Facsimile:   213 623 9924
                                          7 Attorneys for Chapter 11 Debtor and
                                            Debtor In Possession
                                          8
                                          9                             UNITED STATES BANKRUPTCY COURT
                                         10                             SOUTHERN DISTRICT OF CALIFORNIA
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11
         DENTONS US LLP




                                         12 In re:                                        Case No. 22-02384
             213 623 9300




                                         13 BORREGO COMMUNITY HEALTH Chapter 11 Case
                                         14 FOUNDATION,                         COMPENSATION AND STAFFING
                                                                                REPORT FOR ANKURA CONSULTING
                                         15    Debtor and Debtor In Possession. GROUP, LLC FOR THE PERIOD OF
                                                                                SEPTEMBER 1, 2023 THROUGH
                                         16                                     SEPTEMBER 30, 2023
                                         17
                                                                                          Judge: Hon. Laura S. Taylor
                                         18
                                         19
                                         20
                                                      Borrego Community Health Foundation (the “Debtor”), the debtor and debtor
                                         21
                                              in possession in the above-captioned chapter 11 bankruptcy case (the “Case”), hereby
                                         22
                                              files this Compensation and Staffing Report (the “Report”) for services performed by
                                         23
                                              Ankura Consulting Group, LLC (“Ankura”) from September 1, 2023, through
                                         24
                                              September 30, 2023 (the “Billing Period”). In support of this Report, the Debtor
                                         25
                                              respectfully states as follows:
                                         26
                                                      On October 12, 2022, the Debtor filed the Application to Employ Ankura
                                         27
                                              Consulting Group, LLC to (I) Provide the Debtor a Chief Restructuring Officer and
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                                          1 Certain Other Personnel; and (II) Designating Isaac Lee as Chief Restructuring
                                          2 Officer for the Debtor (the “Retention Application”) [Docket No. 87]. On
                                          3 November 16, 2022, the Court entered the Order on Application to Employ Ankura
                                          4 Consulting Group, LLC and Designate Isaac Lee as Chief Restructuring Officer,
                                          5 which granted the Retention Application (the “Retention Order”) [Docket No. 176].
                                          6           The Retention Application, as approved by the Retention Order, provides that
                                          7 Ankura shall be retained under § 363 of the Bankruptcy Code1 and will file a Report
                                          8 monthly reflecting the Ankura professionals who worked on the engagement for the
                                          9 previous month and compensation earned and expenses incurred on a monthly basis
                                         10 including (i) detailed time entry records identifying activities or issues that individual
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                                         11 addressed on a daily basis, grouped to the nearest one-tenth (0.1) of an hour for each
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                                         12 activity category each day, and (ii) detailed expenses records. Retention Application,
             213 623 9300




                                         13 at ¶ 16.
                                         14           Notice of the Report is to be provided to: (i) the Office of the United States
                                         15 Trustee; (ii) counsel to the Official Committee of Unsecured Creditors; and
                                         16 (iii) counsel to any other official committees appointed in this Case. See Retention
                                         17 Application, at ¶ 16.
                                         18           Attached as Exhibits A-C hereto are the summary charts and other items
                                         19 required. As reflected in Exhibits A-C, Ankura incurred $196,794.00 in fees in
                                         20 connection with the service provided in accordance with the Retention Application
                                         21 and $0.00 in expenses during Billing Period.
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                                              Unless otherwise stated, all references to “section,” “§” or “chapter” herein are to 11 U.S.C.
                                         27 §§ 101, et seq., as amended. All references to “Rules” are to the Federal Rules of Bankruptcy
                                            Procedure. All references to the “LBR” are to the Local Rules and Administrative Procedures for
                                         28 the Southern District of California.
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                                          1    Dated: December 4, 2023                          DENTONS US LLP
                                                                                                SAMUEL R. MAIZEL
                                          2                                                     TANIA M. MOYRON
                                          3                                                     By: /s/ Tania M. Moyron
                                                                                                    Tania M. Moyron
                                          4
                                          5                                                     Attorneys for the Chapter 11 Debtor and
                                                                                                Debtor In Possession
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                                         Case 22-02384-LT11   Filed 12/04/23   Entered 12/04/23 17:41:51   Doc 1169   Pg. 4 of
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                                           1                                        Exhibit A
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                                                    15
                                     EXHIBIT A
        BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                 SUMMARY OF COMPENSATION EARNED BY PROFESSIONAL
                 FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023


Professional                   Position                         Rate       Hours           Fees
Lee, Isaac                    Managing Director                 1,065.00       29.0         $ 30,885.00
Rinaldi, Scott                Managing Director                   750.00        5.3            3,975.00
Hull, Sarah                   Managing Director                   555.00        8.8            4,884.00
Pease, Charles                Senior Director                     775.00      128.4           99,510.00
Cazares, Trevor               Senior Associate                    530.00      143.8           76,214.00
Petruolo, Michelle            Paraprofessional                    380.00        8.4            3,192.00
Subtotal                                                                      323.7         $218,660.00
Less: 10% Fee Accommodation                                                                  (21,866.00)
Grand Total                                                                   323.7         $196,794.00




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                                         Case 22-02384-LT11   Filed 12/04/23   Entered 12/04/23 17:41:51   Doc 1169   Pg. 6 of
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                                           1                                        Exhibit B
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                                      EXHIBIT B
         BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                    SUMMARY OF COMPENSATION EARNED BY CATEGORY
                  FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023



Code     Time Category                                                          Hours        Fees
1        Asset Analysis and Disposition                                            4.3        $ 3,332.50
2        Case Administration                                                      10.0          4,751.00
3        Claims Analysis and Administration                                      150.7        95,670.00
4        Case-Related Reporting and Compliance                                    14.7          7,791.00
5        Court Hearings - Filings, Preparation and Participation                  28.4        25,785.50
6        Creditor and Vendor Matters                                               7.8          6,527.00
7        Interim Management - Business Operations                                 40.4        31,786.00
8        Interim Management - Financial Management and Liquidity                  58.6        38,133.00
9        Board Meetings - Preparation and Participation                              -                 -
10       Revenue Cycle and Finance Dept. Support                                   8.8          4,884.00
Subtotal                                                                         323.7     $ 218,660.00

Grand Total                                                                      323.7     $ 218,660.00




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                                         Case 22-02384-LT11   Filed 12/04/23   Entered 12/04/23 17:41:51   Doc 1169   Pg. 8 of
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                                           1                                        Exhibit C
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LOS ANGELES , CALIFORNIA 90017-5704 2
601 SOUTH FIGUEROA STREET , SUITE 2500




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           Case 22-02384-LT11                     Filed 12/04/23                    Entered 12/04/23 17:41:51                                  Doc 1169           Pg. 9 of
                                                                                      15
                                                                                  EXHIBIT C
                                        BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                           COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                                   TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                                  FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code           Date     Professional                                                    Activity                                      Hours   Rate                    Fees
       1      9/7/23    Pease, Charles       Participate on calls with buyer and buyer's agent regarding change of ownership forms;      2.6   775.00                   2,015.00
                                             draft emails regarding same; review CHOW requirements.
       1      9/7/23    Pease, Charles       Review Medicare accounts receivable information; draft email to buyer regarding Medicare    1.7   775.00                   1,317.50
                                             receipts and CHOW process.
 1 Subtotal                                                                                                                              4.3                            3,332.50
     2        9/6/23    Petruolo, Michelle   Correspond with Ankura team regarding open items for inclusion in the August staffing       0.3   380.00                     114.00
                                             report.
       2      9/6/23    Petruolo, Michelle   Create August staffing report including latest time report.                                 0.3   380.00                     114.00
       2      9/6/23    Petruolo, Michelle   Update August staffing report for time detail provided by Ankura team.                      1.1   380.00                     418.00
       2      9/7/23    Petruolo, Michelle   Update time descriptions for the time period 8/1/23 - 8/7/23 including meetings for         1.2   380.00                     456.00
                                             inclusion in the August staffing report.
       2      9/13/23   Petruolo, Michelle   Update time descriptions for the time period 8/8/23 - 8/14/23 including meetings for        1.1   380.00                     418.00
                                             inclusion in the August staffing report.
       2      9/18/23   Lee, Isaac           Review draft Ankura staffing report, prepare comments.                                      0.3 1,065.00                     319.50
       2      9/18/23   Petruolo, Michelle   Prepare draft August staffing report exhibits A through E prior to sending to CRO for       0.6   380.00                     228.00
                                             review and comment.
       2      9/18/23   Petruolo, Michelle   Update time descriptions for the time period 8/15/23 - 8/31/23 including meetings for       3.0   380.00                   1,140.00
                                             inclusion in the August staffing report.
       2      9/19/23   Lee, Isaac           Review final draft of Ankura August staffing report and support schedules.                  0.3 1,065.00                     319.50
       2      9/19/23   Petruolo, Michelle   Finalize August staffing report exhibits A through E prior to sending to CRO.               0.8   380.00                     304.00
       2      9/20/23   Lee, Isaac           Participate on call with C. Pease (ACG) regarding engagement staffing, buyer financial      0.5 1,065.00                     532.50
                                             reporting / TSA services.
       2      9/20/23   Pease, Charles       Participate on call with CRO regarding engagement staffing, buyer financial reporting /     0.5   775.00                     387.50
                                             TSA services.
 2 Subtotal                                                                                                                             10.0                            4,751.00
     3        9/1/23    Cazares, Trevor      Troubleshoot IT, call Microsoft to diagnose Microsoft MFA issues, call Javier Pastrana      2.1   530.00                   1,113.00
                                             (DAP) for IT support, delete and re-download apps on phone and on laptop.

       3      9/1/23    Pease, Charles        Review final settlement offer from certain dental counterparty; prepare final analysis and         2.2    775.00          1,705.00
                                              draft email to management regarding same.
       3      9/5/23    Cazares, Trevor       Correspond with M. Gray (FTI) regarding POC 135 regarding possible POC amendment,                  0.3    530.00            159.00
                                              review POC 135 for comprehensive response.
       3      9/5/23    Pease, Charles        Participate on call with prior landlord regarding cure cost; participate on call with FTI          2.2    775.00          1,705.00
                                              regarding cure cost; draft email to buyer regarding cure cost.
       3      9/8/23    Cazares, Trevor       Draft email to send PTO payout proof to UCC financial advisors.                                    0.3    530.00            159.00
       3      9/8/23    Pease, Charles        Participate on call with J. Pomerantz (Pachulski) regarding dental claims; perform                 4.1    775.00          3,177.50
                                              diligence regarding dental claims; draft two separate emails to UCC advisors regarding
                                              updates to claims analysis.
       3      9/11/23 Lee, Isaac              Review FTI claims schedule and email.                                                              0.3   1,065.00           319.50
       3      9/11/23 Pease, Charles          Review claims analysis (580+ claims lines) for potential unpaid cure costs; reconcile same         2.7     775.00         2,092.50
                                              to list of assumed contracts.
       3      9/11/23 Pease, Charles          Review email and two separate claims worksheets provided by FTI; review, perform                   2.3    775.00          1,782.50
                                              diligence, and draft responses to each line of creditor inquiry; draft email response to other
                                              questions.
       3      9/12/23 Cazares, Trevor         Participate on call with A. Taylor (DAP) regarding Intergy walkthrough and demonstration.          0.5    530.00            265.00

       3      9/14/23 Cazares, Trevor         Continue to reconcile bankruptcy claims from non-litigant dentist claimants against                1.9    530.00          1,007.00
                                              Debtor's records.
       3      9/14/23 Cazares, Trevor         Continue to reconcile bankruptcy claims from non-litigant dentist claimants against                2.4    530.00          1,272.00
                                              Debtor's records using Intergy software.
       3      9/14/23 Cazares, Trevor         Reconcile bankruptcy claims from non-litigant dentist claimants against Debtor's records.          3.1    530.00          1,643.00

       3      9/15/23 Cazares, Trevor         Continue to reconcile dentist bankruptcy claims by referencing EHR records to compare to           3.6    530.00          1,908.00
                                              claimant records.
       3      9/15/23   Cazares, Trevor       Reconcile dentist bankruptcy claims using Debtor's Intergy software.                               3.5    530.00          1,855.00
       3      9/18/23   Cazares, Trevor       Continue to work on claims reconciliations.                                                        2.3    530.00          1,219.00
       3      9/18/23   Cazares, Trevor       Work on reconciling bankruptcy claims submitted by non-litigant dentists.                          3.8    530.00          2,014.00
       3      9/19/23   Cazares, Trevor       Continue to reconcile claims using debtor's internal accounting records.                           4.4    530.00          2,332.00
       3      9/19/23   Cazares, Trevor       Complete claims reconciliation for one non-litigant dentist claim, continue to reconcile           3.3    530.00          1,749.00
                                              claims submitted by other non-litigant dentists.
       3      9/19/23   Cazares, Trevor       Reconcile non-litigant dentist bankruptcy claims.                                                  3.1     530.00         1,643.00
       3      9/19/23   Lee, Isaac            Review draft claim objections, prepare comments.                                                   0.4   1,065.00           426.00
       3      9/19/23   Pease, Charles        Prepare claims analysis for certain claim objections.                                              2.0     775.00         1,550.00
       3      9/20/23   Cazares, Trevor       Continue to prepare non-litigant dentist claims reconciliations.                                   3.0     530.00         1,590.00
       3      9/20/23   Cazares, Trevor       Continue to reconcile non-litigant dentist claims using debtor's accounting records.               3.1     530.00         1,643.00
       3      9/21/23   Cazares, Trevor       Continue to update bankruptcy claims reconciliations by continuing to reconcile claims             3.0     530.00         1,590.00
                                              submitted.
       3      9/21/23   Cazares, Trevor       Reconcile bankruptcy claims submitted by non-litigant dentist.                                     2.9    530.00          1,537.00
       3      9/21/23   Cazares, Trevor       Review and reconcile bankruptcy claims submitted by non-litigant dentists.                         3.2    530.00          1,696.00
       3      9/21/23   Pease, Charles        Perform further diligence and prepare further analysis of certain claims.                          2.1    775.00          1,627.50
       3      9/21/23   Pease, Charles        Review three files sent by UCC advisors regarding claim objections, perform payment                2.4    775.00          1,860.00
                                              diligence for each claimant, and draft response for each file.
       3      9/22/23   Cazares, Trevor       Begin new bankruptcy claim reconciliation submitted by non-litigant dentist.                       1.9    530.00          1,007.00
       3      9/22/23   Cazares, Trevor       Continue to update bankruptcy claim reconciliations.                                               1.2    530.00            636.00
       3      9/22/23   Cazares, Trevor       Reconcile bankruptcy claims using Debtor's Intergy health records software.                        3.1    530.00          1,643.00
       3      9/25/23   Cazares, Trevor       Begin reconciliation for next non-litigant dentist's claim.                                        1.2    530.00            636.00
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                                                                  EXHIBIT C
                                     BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                          COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                              TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                              FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code            Date    Professional                                  Activity                                    Hours Rate                                   Fees
       3      9/25/23   Cazares, Trevor   Complete reconciliation of a non-litigant dentist's claim.                                       3.8     530.00        2,014.00
       3      9/25/23   Cazares, Trevor   Continue to update claims reconciliation.                                                        2.1     530.00        1,113.00
       3      9/25/23   Lee, Isaac        Review comments to draft claim objections and draft declarations.                                0.3   1,065.00          319.50
       3      9/25/23   Pease, Charles    Participate on call with J. Pomerantz (PSZJ) regarding claim objection pleadings; review         0.7     775.00          542.50
                                          pleadings and draft email response to J. Pomerantz.
       3      9/25/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       4.2    775.00         3,255.00
                                          objections - pleadings 1 - 3 (some of which might not have been filed after proper
                                          diligence).
       3      9/25/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.6    775.00         2,015.00
                                          objections - pleadings 4 - 5 (some of which might not have been filed after proper
                                          diligence).
       3      9/26/23 Cazares, Trevor     Complete reconciliation of third non-litigant dentist's claim.                                   2.9    530.00         1,537.00
       3      9/26/23 Cazares, Trevor     Continue updating non-litigant dentist claim reconciliations.                                    1.1    530.00           583.00
       3      9/26/23 Cazares, Trevor     Format updates to claims reconciliations, continue updating claims reconciliations by            4.0    530.00         2,120.00
                                          checking claims against Debtor's EHR files.
       3      9/26/23 Lee, Isaac          Review comments to draft claim objections and draft declarations, claims reconciliation          0.3   1,065.00             319.50
                                          schedules.
       3      9/26/23 Pease, Charles      Review contract dental analysis; draft email to UCC advisors regarding same.                     1.3    775.00         1,007.50
       3      9/26/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       4.7    775.00         3,642.50
                                          objections - pleadings 13 - 17 (some of which might not have been filed after proper
                                          diligence).
       3      9/26/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.8    775.00         2,170.00
                                          objections - pleadings 6 - 7 (some of which might not have been filed after proper
                                          diligence).
       3      9/26/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       1.6    775.00         1,240.00
                                          objections - pleadings 7 - 8 (some of which might not have been filed after proper
                                          diligence).
       3      9/26/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.3    775.00         1,782.50
                                          objections - pleadings 9 - 12 (some of which might not have been filed after proper
                                          diligence).
       3      9/27/23 Cazares, Trevor     Begin reconciliation of another non-litigant dentist's claim.                                    3.1     530.00        1,643.00
       3      9/27/23 Lee, Isaac          Review comments to draft claim objections and draft declarations; provide C. Pease (ACG)         0.4   1,065.00          426.00
                                          regarding comments.
       3      9/27/23 Pease, Charles      Review comments to draft claim objections and draft declarations; provide CRO regarding          0.5    775.00              387.50
                                          comments.
       3      9/27/23 Pease, Charles      Review set I of finalized pleadings provided by UCC and Debtor's counsel.                        0.4    775.00           310.00
       3      9/27/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.7    775.00         2,092.50
                                          objections - pleadings 18 - 22 (some of which might not have been filed after proper
                                          diligence).
       3      9/27/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       3.9    775.00         3,022.50
                                          objections - pleadings 23 - 30 (some of which might not have been filed after proper
                                          diligence).
       3      9/27/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.6    775.00         2,015.00
                                          objections - pleadings 31 - 35 (some of which might not have been filed after proper
                                          diligence).
       3      9/28/23 Cazares, Trevor     Manipulate, enter and use data for claims reconciliations.                                       4.0    530.00         2,120.00
       3      9/28/23 Cazares, Trevor     Prepare claims reconciliations, manipulate data for use in claims reconciliations, reconcile     4.0    530.00         2,120.00
                                          claims.
       3      9/28/23 Lee, Isaac          Review draft claim objections.                                                                   0.4   1,065.00          426.00
       3      9/28/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.5     775.00        1,937.50
                                          objections - pleadings 36 - 40 (some of which might not have been filed after proper
                                          diligence).
       3      9/28/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.2    775.00         1,705.00
                                          objections - pleadings 41 - 45 (some of which might not have been filed after proper
                                          diligence).
       3      9/28/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       1.6    775.00         1,240.00
                                          objections - pleadings 46 - 50 (some of which might not have been filed after proper
                                          diligence).
       3      9/28/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       1.2    775.00              930.00
                                          objections - pleadings 51 - 54 (some of which might not have been filed after proper
                                          diligence).
       3      9/28/23 Pease, Charles      Review, edit, perform diligence and complete certain sections of pleadings regarding claim       2.1    775.00         1,627.50
                                          objections - pleadings 55 - 63 (some of which might not have been filed after proper
                                          diligence).
     3        9/29/23 Cazares, Trevor     Complete next non-litigant dentist's claims reconciliation.                                      2.9    530.00         1,537.00
     3        9/29/23 Cazares, Trevor     Continue to reconcile claims against Debtor's EHR files.                                         3.6    530.00         1,908.00
 3 Subtotal                                                                                                                              150.7                  95,670.00
     4        9/8/23    Cazares, Trevor   Begin to prepare Q2 OCP accrued fees exhibit.                                                    1.3    530.00           689.00
     4        9/8/23    Cazares, Trevor   Collect and redact August Operating Account and Money Market Account bank                        1.0    530.00           530.00
                                          statements.
       4      9/11/23 Cazares, Trevor     Complete Q2 OCP accrual and payment tracker by entering invoices into model, update              3.9    530.00         2,067.00
                                          formatting to fit on single page.
       4      9/11/23 Cazares, Trevor     Update Q2 OCP accrual and payment tracker with two ordinary course professionals and             1.2    530.00              636.00
                                          relating invoice data.
       4      9/12/23 Cazares, Trevor     Correspond with C. Pease (ACG) regarding professional fees.                                      0.3    530.00              159.00
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                                                                  EXHIBIT C
                                     BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                          COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                              TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                              FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code            Date    Professional                                  Activity                                    Hours Rate                                  Fees
       4      9/12/23 Cazares, Trevor    Review Q2 OCP accrual and payment tracker prior to submitting for engagement                     0.6    530.00              318.00
                                         management review.
       4      9/12/23 Cazares, Trevor    Update Q2 OCP accrual and payment tracker with additional ordinary course professionals          0.9    530.00              477.00
                                         and relating invoice data.
       4      9/12/23 Cazares, Trevor    Update Q2 OCP Excel by bifurcating Jarrard OCP into two OCP lines to show split                  2.1    530.00         1,113.00
                                         between OCP and non-OCP work performed by Jarrard.
       4      9/12/23 Cazares, Trevor    Update Q2 OCP Excel by updating dates of invoices to dates of approvals, noting invoice          2.7    530.00         1,431.00
                                         date.
       4      9/13/23 Cazares, Trevor    Update Q2 OCP report by updating syntax and including footnotes, prepare document in             0.7    530.00              371.00
                                         PDF format.
 4 Subtotal                                                                                                                              14.7                   7,791.00
     5        9/5/23    Lee, Isaac       Participate on call with C. Pease (ACG) regarding litigation mediation.                          0.3   1,065.00          319.50
     5        9/5/23    Pease, Charles   Participate on call with CRO regarding litigation mediation.                                     0.3     775.00          232.50
     5        9/5/23    Lee, Isaac       Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.7   1,065.00          745.50
                                         MacIsaac (CEO) and C. Pease (ACG) regarding bankruptcy and litigation matters update.

       5      9/5/23    Pease, Charles   Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.7    775.00              542.50
                                         MacIsaac (CEO) and CRO regarding bankruptcy and litigation matters update.

       5      9/6/23    Lee, Isaac       Review Travelers mediation statements in preparation for mediation hearing.                      0.7   1,065.00          745.50
       5      9/7/23    Lee, Isaac       Review draft motion to extend exclusivity and declaration.                                       0.3   1,065.00          319.50
       5      9/8/23    Lee, Isaac       Participate in Travelers mediation hearing.                                                      7.0   1,065.00        7,455.00
       5      9/12/23   Lee, Isaac       Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.4   1,065.00          426.00
                                         MacIsaac (CEO), C. Pease (ACG) regarding bankruptcy and litigation matters update.

       5      9/12/23 Pease, Charles     Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.4    775.00              310.00
                                         MacIsaac (CEO), CRO regarding bankruptcy and litigation matters update.

       5      9/13/23 Lee, Isaac         Participate on call with C. Pease (ACG) regarding comments to OCP filing, update on              0.5   1,065.00             532.50
                                         close of July financials.
       5      9/13/23 Pease, Charles     Participate on call with CRO regarding comments to OCP filing, update on close of July           0.5    775.00              387.50
                                         financials.
       5      9/13/23 Lee, Isaac         Review drafts of OCP filing, prepare comments.                                                   0.4   1,065.00          426.00
       5      9/13/23 Pease, Charles     Review Ordinary Course Professional report; perform diligence regarding OCP                      1.5     775.00        1,162.50
                                         declarations; review prior monthly operating reports regarding OCP payments and accruals.

       5      9/14/23 Lee, Isaac         Review drafts of Travelers settlement agreement.                                                 0.3   1,065.00          319.50
       5      9/20/23 Pease, Charles     Review emails and draft responses regarding insurance claim to / from insurance carrier.         1.5     775.00        1,162.50

       5      9/20/23 Pease, Charles     Review, prepare edits / fill-in-the-blanks, and draft email response to Debtor's counsel and     2.1    775.00         1,627.50
                                         UCC advisors regarding draft templates for claim objections.
       5      9/25/23 Lee, Isaac         Review draft motion to combine filing of disclosure statement and plan and declaration.          0.3   1,065.00             319.50

       5      9/25/23 Pease, Charles     Review claims section of Combined Plan and Disclosure Statement.                                 0.8     775.00             620.00
       5      9/26/23 Lee, Isaac         Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.5   1,065.00             532.50
                                         MacIsaac (CEO), C. Pease (ACG) regarding bankruptcy and litigation matters update.

       5      9/26/23 Pease, Charles     Participate on call with T. Moyron, S. Maizel (Dentons), J. Kearney, J. LaMagna (HLB), R.        0.5    775.00              387.50
                                         MacIsaac (CEO), CRO regarding bankruptcy and litigation matters update.

       5      9/28/23 Lee, Isaac         Review PSZJ comments to Plan, draft trust agreements, prepare comments.                          0.9   1,065.00             958.50
       5      9/28/23 Rinaldi, Scott     Commence review of the draft Liquidating Trust Agreement, GUC Claims Sub-Trust                   0.6     750.00             450.00
                                         Agreement, and Services agreement in preparation for conference call to discuss same.

       5      9/29/23 Cazares, Trevor    Participate on call with CRO, S. Rinaldi, C. Pease (ACG) regarding comments to draft             1.2    530.00              636.00
                                         liquidating trustee agreement (partial attendance).
       5      9/29/23 Lee, Isaac         Participate on call with S. Rinaldi, C. Pease, T. Cazares (ACG) regarding comments to            1.5   1,065.00        1,597.50
                                         draft liquidating trustee agreement.
       5      9/29/23 Pease, Charles     Participate on call with S. Rinaldi, CRO, T. Cazares (ACG) regarding comments to draft           1.5    775.00         1,162.50
                                         liquidating trustee agreement.
       5      9/29/23 Rinaldi, Scott     Participate on call with CRO, C. Pease, T. Cazares (ACG) regarding comments to draft             1.5    750.00         1,125.00
                                         liquidating trustee agreement.
       5      9/29/23 Rinaldi, Scott     Continue to read and review the draft Liquidating Trust Agreement, GUC Claims Sub-               0.3    750.00              225.00
                                         Trust Agreement, and Services agreement in preparation for conference call to discuss
                                         same.
       5      9/29/23 Rinaldi, Scott     Summarize comments, questions and notes related to the to the Liquidating Trust                  0.4    750.00              300.00
                                         Agreement and GUC Claims Sub-Trust Agreement in advance of call regarding the same.

       5      9/29/23 Rinaldi, Scott     Prepare for call with CRO, C. Pease, T. Cazares (ACG) regarding comments to draft                0.3    750.00              225.00
                                         liquidating trustee agreement.
       5      9/30/23 Lee, Isaac         Participate on call with T. Moyron (Dentons) regarding comments to draft liquidating trust       0.5   1,065.00             532.50
                                         agreement.
 5 Subtotal                                                                                                                              28.4                  25,785.50
     6        9/12/23 Cazares, Trevor    Participate on call with CRO, C. Pease (ACG) regarding comments to FTI information               0.4    530.00           212.00
                                         request/diligence questions (partial attendance).
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                                                                 EXHIBIT C
                                    BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                         COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                             TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                             FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code            Date   Professional                                  Activity                                    Hours Rate                                 Fees
       6      9/12/23 Lee, Isaac         Participate on call with C. Pease, T. Cazares (ACG) regarding comments to FTI                  0.6   1,065.00             639.00
                                         information request/diligence questions.
       6      9/12/23 Pease, Charles     Participate on call with CRO, T. Cazares (ACG) regarding comments to FTI information           0.6    775.00              465.00
                                         request/diligence questions.
       6      9/12/23 Lee, Isaac         Review draft professional fees schedule and responses to FTI questions, prepare                0.4   1,065.00             426.00
                                         comments.
       6      9/12/23 Pease, Charles     Prepare detailed forecast of professional fee build-up at the request of FTI; review other     2.3    775.00         1,782.50
                                         questions, perform diligence, and draft response.
       6      9/13/23 Pease, Charles     Review emails, perform internal accounting diligence, and draft email to pharmacy              0.8    775.00              620.00
                                         provider regarding open checks and invoices.
       6      9/14/23 Pease, Charles     Review invoices and email from 340b pharmacy supplier; perform internal accounting             0.7    775.00              542.50
                                         diligence and draft response.
       6      9/28/23 Lee, Isaac         Participate on call with C. Pease (ACG) regarding disclosure statement support schedules,      1.0   1,065.00        1,065.00
                                         plan comments, trust agreement comments, receipts reconciliation schedule update,
                                         comments to draft claim objections.
       6      9/28/23 Pease, Charles     Participate on call with CRO regarding disclosure statement support schedules, plan            1.0    775.00              775.00
                                         comments, trust agreement comments, receipts reconciliation schedule update, comments
                                         to draft claim objections.
 6 Subtotal                                                                                                                             7.8                   6,527.00
     7        9/5/23   Lee, Isaac        Participate on calls with C. Pease (ACG) regarding landlord cure costs, wind down              0.7   1,065.00          745.50
                                         operations, update on call with FTI.
       7      9/5/23   Pease, Charles    Participate on calls with CRO regarding landlord cure costs, wind down operations, update      0.7    775.00              542.50
                                         on call with FTI.
       7      9/5/23   Cazares, Trevor   Correspond with internal parties at DAP (former Borrego parties) regarding IT issues           0.6    530.00              318.00
                                         surrounding Microsoft MFA and with Citrix.
       7      9/5/23   Cazares, Trevor   Correspond with Jose Pastrana and Javier Pastrana (DAP) via instructions to log into           0.3    530.00              159.00
                                         Borrego remote network.
       7      9/5/23   Cazares, Trevor   Draft email to J. Pastrana (DAP) and other DAP IT team members to describe IT issues.          0.3    530.00              159.00

       7      9/5/23   Cazares, Trevor   Draft email to J. Pastrana (DAP) to reschedule call.                                           0.3    530.00              159.00
       7      9/5/23   Cazares, Trevor   Participate on call with J. Pastrana (DAP) regarding IT issues with Microsoft and Citrix.      0.3    530.00              159.00

       7      9/5/23   Cazares, Trevor   Participate on call with J. Pastrana (DAP) regarding Microsoft Authenticator MFA.              0.3    530.00              159.00
       7      9/5/23   Cazares, Trevor   Prepare for call with J. Pastrana (DAP) by reviewing IT issues to discuss.                     0.3    530.00              159.00
       7      9/5/23   Pease, Charles    Participate on call with Buyer regarding contract medical; review database for contract        1.0    775.00              775.00
                                         medical agreements.
       7      9/5/23   Pease, Charles    Review 340(b) invoices; draft several emails to Buyer regarding same.                          1.4    775.00         1,085.00
       7      9/5/23   Pease, Charles    Review Oracle platform proposal (for legacy storage of financial documents), including         3.1    775.00         2,402.50
                                         mechanics of such; draft email responses to Oracle members; participate on call with
                                         Buyer's IT partners regarding same.
       7      9/6/23   Lee, Isaac        Participate on calls with C. Pease (ACG) regarding reconciliation schedule, update on calls    1.1   1,065.00        1,171.50
                                         with buyer representatives, disclosure statement workstream.
       7      9/6/23   Pease, Charles    Participate on calls with CRO regarding reconciliation schedule, update on calls with buyer    1.1    775.00              852.50
                                         representatives, disclosure statement workstream.
       7      9/6/23   Cazares, Trevor   Search for Borrego contract in VDR to fulfill a request from C. Velasquez (DAP).               0.6    530.00              318.00
       7      9/6/23   Pease, Charles    Finalize agreements with Oracle; draft email to management regarding contract; draft email     0.9    775.00              697.50
                                         to buyer regarding TSA matters relative to the Oracle agreement.
       7      9/6/23   Pease, Charles    Review invoices for printer company; participate on call with buyer regarding status of        1.6    775.00         1,240.00
                                         such printers; draft email to buyer management regarding same.
       7      9/7/23   Lee, Isaac        Participate on call with R. MacIsaac (CEO), S. Hull, C. Pease (ACG), A. Taylor, E. Tigard,     1.1   1,065.00        1,171.50
                                         and J. Stith (DAP) regarding receivables collections.
       7      9/7/23   Pease, Charles    Participate on call with R. MacIsaac (CEO), CRO, S. Hull (ACG), A. Taylor, E. Tigard,          1.1    775.00              852.50
                                         and J. Stith (DAP) regarding receivables collections.
       7      9/8/23   Cazares, Trevor   Participate on call with C. Pease (ACG) regarding status update of various workstreams.        0.6    530.00              318.00

       7      9/8/23   Pease, Charles    Participate on call with T. Cazares (ACG) regarding status update of various workstreams.      0.6    775.00              465.00

       7      9/13/23 Pease, Charles     Review request for documents from Buyer; perform diligence and draft several emails with       1.4    775.00         1,085.00
                                         requested documents and information (under the terms of the TSA).
       7      9/14/23 Lee, Isaac         Participate on call with S. Rinaldi (ACG) regarding wind down operations and liquidating       0.3   1,065.00             319.50
                                         trust.
       7      9/14/23 Rinaldi, Scott     Participate on call with CRO regarding wind down operations and liquidating trust.             0.3    750.00           225.00
       7      9/14/23 Pease, Charles     Participate on call with CNB bank representative regarding change in relationship;             1.6    775.00         1,240.00
                                         participate on call with Buyer's management regarding Debtor's account receivables.

       7      9/14/23 Pease, Charles     Perform diligence and draft several emails regarding Debtor's not-for-profit status.           1.2    775.00              930.00
       7      9/14/23 Pease, Charles     Review invoices from proposed OCP; draft email to their billing department regarding the       0.8    775.00              620.00
                                         required declaration.
       7      9/15/23 Lee, Isaac         Review audit engagement letter, AR collections email from S. Hull (ACG).                       0.3   1,065.00             319.50
       7      9/18/23 Cazares, Trevor    Participate on call with CRO, S. Rinaldi, C. Pease (ACG) regarding wind down work              1.0     530.00             530.00
                                         schedule, liquidating trust workstreams.
       7      9/18/23 Lee, Isaac         Participate on call with S. Rinaldi, C. Pease, T. Cazares (ACG) regarding wind down work       1.0   1,065.00        1,065.00
                                         schedule, liquidating trust workstreams.
       7      9/18/23 Pease, Charles     Participate on call with S. Rinaldi, CRO, T. Cazares (ACG) regarding wind down work            1.0    775.00              775.00
                                         schedule, liquidating trust workstreams.
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                         COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                             TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                             FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code            Date   Professional                                  Activity                                    Hours Rate                                  Fees
       7      9/18/23 Rinaldi, Scott     Participate on call with CRO, T. Cazares, C. Pease (ACG) regarding wind down work               1.0    750.00              750.00
                                         schedule, liquidating trust workstreams.
       7      9/18/23 Lee, Isaac         Participate on call with C. Pease (ACG) regarding wind down work schedule, comments to          0.4   1,065.00             426.00
                                         draft Ankura staffing report.
       7      9/18/23 Pease, Charles     Participate on call with CRO regarding wind down work schedule, comments to draft               0.4    775.00              310.00
                                         Ankura staffing report.
       7      9/18/23 Cazares, Trevor    Participate on call with M. Bropleh (ACG), D. Baldwin (DAP), and Oracle NetSuite                0.5    530.00              265.00
                                         implementation team regarding new instance of NetSuite to be installed.
       7      9/18/23 Pease, Charles     Participate on several calls with Buyer's management regarding needs under the TSA.             1.5    775.00         1,162.50

       7      9/19/23 Pease, Charles     Review documents, perform diligence, and draft emails regarding insurance related               2.1    775.00         1,627.50
                                         matters.
       7      9/20/23 Pease, Charles     Review emails, perform diligence, and draft response to Buyer regarding employee related        2.4    775.00         1,860.00
                                         health insurance bills.
       7      9/21/23 Lee, Isaac         Participate on call with C. Pease (ACG) regarding claim objections; buyer financial             0.5   1,065.00             532.50
                                         reporting / TSA services
       7      9/21/23 Pease, Charles     Participate on call with CRO regarding claim objections; buyer financial reporting / TSA        0.5    775.00              387.50
                                         services.
       7      9/25/23 Lee, Isaac         Participate on call with R. MacIsaac (CEO), C. Pease, S. Hull (ACG) regarding AR write-         0.9   1,065.00             958.50
                                         off.
       7      9/25/23 Pease, Charles     Participate on call with R. MacIsaac (CEO), CRO, S. Hull (ACG) regarding AR write-off.          0.9    775.00              697.50

       7      9/25/23 Cazares, Trevor    Participate on call with K. Haffer (Oracle) regarding NetSuite setup.                           0.5    530.00              265.00
       7      9/26/23 Cazares, Trevor    Correspond with D. Baldwin (DAP) and K. Haffer (Oracle) regarding NetSuite setup and            0.4    530.00              212.00
                                         administrator access.
       7      9/27/23 Lee, Isaac         Review accounts receivable report.                                                              0.3   1,065.00             319.50
       7      9/28/23 Rinaldi, Scott     Read various case correspondence related to accounting systems, post-effective date             0.3     750.00             225.00
                                         transition and general wind down matters.
       7      9/28/23 Rinaldi, Scott     Read motion to combine disclosure statement and plan and schedule combined                      0.3    750.00              225.00
                                         confirmation hearing, and review anticipated timeline for the case.
     7        9/28/23 Rinaldi, Scott     Review the draft wind down workstreams and tasks.                                               0.3     750.00          225.00
     7        9/29/23 Lee, Isaac         Review buyer receipts reconciliation report.                                                    0.3   1,065.00          319.50
 7 Subtotal                                                                                                                             40.4                  31,786.00
     8        9/1/23   Pease, Charles    Review certain invoices for proration between buyer and Debtor.                                 0.9    775.00           697.50
     8        9/1/23   Pease, Charles    Review emails and documents regarding pharmacy receipts through third party credit card         1.4    775.00         1,085.00
                                         administrator.
       8      9/5/23   Cazares, Trevor   Correspond with parties at Borrego to request data for use in updating liquidity model.         0.3    530.00              159.00

       8      9/5/23   Cazares, Trevor   Gather and inspect additional data to be included in the update to the liquidity model.         0.4    530.00              212.00
       8      9/5/23   Cazares, Trevor   Update liquidity model for professional fees submitted through court filings and                1.1    530.00              583.00
                                         reconciling to Debtor's NetSuite account.
       8      9/6/23   Cazares, Trevor   Create Adequate Assurance Utilities Deposit tracker to track status of deposit returns back     0.5    530.00              265.00
                                         to the Borrego estate.
       8      9/6/23   Cazares, Trevor   Draft email to send weekly liquidity variance analysis to restructuring team for review.        0.3    530.00              159.00

       8      9/6/23   Cazares, Trevor   Draft emails to internal parties at DAP (former Borrego parties) to inquire about receipts      0.3    530.00              159.00
                                         from prior weeks.
       8      9/6/23   Cazares, Trevor   Gather invoices from vendor and send to engagement management.                                  0.3    530.00              159.00
       8      9/6/23   Cazares, Trevor   Prepare weekly liquidity variance analysis to share with Borrego UCC.                           0.7    530.00              371.00
       8      9/6/23   Cazares, Trevor   Search Debtor's NetSuite for bank deposits from specific counterparties the Debtor is           0.4    530.00              212.00
                                         expecting to receive.
       8      9/6/23   Cazares, Trevor   Update liquidity model for prior week's actuals, inspect disbursements to ensure no             2.7    530.00         1,431.00
                                         payments were made for services after sale-close.
       8      9/6/23   Lee, Isaac        Review draft august payment reconciliation schedule and forecast support schedules,             0.3   1,065.00             319.50
                                         prepare comments.
       8      9/6/23   Pease, Charles    Participate on call with buyer regarding the Debtor's capitation payments.                      1.0    775.00           775.00
       8      9/6/23   Pease, Charles    Prepare draft of the September reconciliation between buyer and Debtor (closing                 1.5    775.00         1,162.50
                                         reconciliation, TSA fees, pharmaceutical recons, and other accounts payable matters).

       8      9/7/23   Cazares, Trevor   Address comments to liquidity variance report from team.                                        0.3    530.00              159.00
       8      9/7/23   Cazares, Trevor   Collect and redact August payroll bank account data.                                            0.4    530.00              212.00
       8      9/7/23   Cazares, Trevor   Investigate deposit refund expected to have been received.                                      0.5    530.00              265.00
       8      9/7/23   Cazares, Trevor   Research Rural Health Care Telecommunications Program to understand cash flows                  1.7    530.00              901.00
                                         relating to program.
       8      9/7/23   Cazares, Trevor   Review liquidity analysis prior to submitting to engagement management for review.              0.4     530.00             212.00
       8      9/7/23   Lee, Isaac        Review draft of weekly cash flow forecast variance analysis.                                    0.3   1,065.00             319.50
       8      9/8/23   Cazares, Trevor   Participate on call with L. Hill (Lumen) regarding Rural Health Care Telecommunication          0.4     530.00             212.00
                                         Program credit payment.
       8      9/8/23   Cazares, Trevor   Review liquidity analysis prior to submitting to UCC financial advisors.                        0.4    530.00           212.00
       8      9/8/23   Pease, Charles    Participate on calls with buyer's management regarding open financial items related to the      2.0    775.00         1,550.00
                                         TSA.
       8      9/8/23   Pease, Charles    Prepare template and perform analysis of utility invoices split between buyer and Debtor.       0.7    775.00              542.50

       8      9/11/23 Lee, Isaac         Participate on call with C. Pease (ACG) regarding comments to draft sources and uses            0.5   1,065.00             532.50
                                         schedule.
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                                              TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                              FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code            Date    Professional                                  Activity                                    Hours Rate                                     Fees
       8      9/11/23 Pease, Charles      Participate on call with CRO regarding comments to draft sources and uses schedule.                0.5    775.00              387.50

       8      9/11/23 Lee, Isaac          Review draft sources and uses detail schedule, prepare comments.                                   0.3   1,065.00          319.50
       8      9/11/23 Pease, Charles      Draft detailed breakdown of wind down and administrative costs at the request of FTI.              1.9     775.00        1,472.50

       8      9/11/23 Pease, Charles      Review and provide authority to pay to DAP (through the TSA) the payment of Debtor's               1.1    775.00              852.50
                                          administrative expenses (legal invoices, operating invoices, etc.).
       8      9/11/23 Pease, Charles      Review email from Greenway counsel; review language and accompanying documents                     1.3    775.00         1,007.50
                                          regarding billing; draft email to management regarding same.
       8      9/11/23 Pease, Charles      Review liquidity documents, prepare analysis, and draft email response to FTI regarding            0.9    775.00              697.50
                                          inquiry on outstanding accounts receivable.
       8      9/12/23 Cazares, Trevor     Review prior week's bank transactions and checkbook transactions to update liquidity               0.9    530.00              477.00
                                          model, draft email to A. Fuentes (DAP / Borrego) regarding specific transaction from prior
                                          week, prep checkbook data.
       8      9/12/23 Pease, Charles      Review invoices with split dates between Debtor and Seller; draft updates to August                1.9    775.00         1,472.50
                                          reconciliation.
       8      9/13/23 Cazares, Trevor     Continue updating liquidity model with prior week's actuals. Investigate two specific              1.1    530.00              583.00
                                          transactions.
       8      9/13/23 Cazares, Trevor     Correspond with parties from City National Bank regarding IT log-in issues, account                1.2    530.00              636.00
                                          permissions, and other banking items with IT team, Business Online Team, and
                                          Relationship Managers.
       8      9/13/23 Cazares, Trevor     Prepare model-to-bank reconciliation to ensure model accuracy.                                     0.4    530.00           212.00
       8      9/13/23 Cazares, Trevor     Prepare Post-Close Administrative Fees Owed to DAP model for the month of August;                  2.2    530.00         1,166.00
                                          format sheet to be client-facing, scrub receipts for receipts to be excluded from calculation.

       8      9/13/23 Cazares, Trevor     Prepare weekly variance analysis, scrub expenses for cutoff date of 7/31/23 to ensure the          1.9    530.00         1,007.00
                                          Estate does not continue to pay for operational expenses not incurred by the Estate.

       8      9/13/23 Cazares, Trevor     Update liquidity model with prior week's actuals from bank statements and from check               0.8    530.00              424.00
                                          data.
       8      9/13/23 Pease, Charles      Review liquidity updates and draft response regarding same.                                        0.6     775.00             465.00
       8      9/14/23 Lee, Isaac          Participate on call with C. Pease (ACG) regarding comments to OCP filing, July financials,         0.3   1,065.00             319.50
                                          post close financial reporting.
       8      9/14/23 Pease, Charles      Participate on call with CRO regarding comments to OCP filing, July financials, post close         0.3    775.00              232.50
                                          financial reporting.
       8      9/14/23 Lee, Isaac          Review draft of weekly cash flow forecast variance analysis and support schedules, prepare         0.3   1,065.00             319.50
                                          comments.
       8      9/15/23 Pease, Charles      Review June balance sheet and draft response to management regarding accounting entries            0.4    775.00              310.00
                                          for sale proceeds.
       8      9/18/23 Pease, Charles      Review, perform diligence, and approve unpaid administrative expenses.                             0.6    775.00           465.00
       8      9/20/23 Cazares, Trevor     Update liquidity model with prior week's actuals, investigate expenses to ensure estate does       3.2    530.00         1,696.00
                                          not pay for expenses incurred by DAP, prepare weekly liquidity deliverables to share with
                                          UCC financial advisors.
       8      9/21/23 Cazares, Trevor     Review liquidity deliverables, draft email to submit to team for review.                           0.3    530.00              159.00
       8      9/21/23 Pease, Charles      Review accounts payable materials and draft email regarding payment of such (including             1.2    775.00              930.00
                                          payment of certain professional fees based on recent fee applications).
       8      9/22/23 Cazares, Trevor     Draft email to UCC financial advisors to send weekly liquidity deliverables.                       0.4    530.00              212.00
       8      9/22/23 Cazares, Trevor     Prepare historical liquidity actuals to share with team when sending the weekly liquidity          0.8    530.00              424.00
                                          deliverables for review.
       8      9/22/23 Lee, Isaac          Review draft of weekly cash flow forecast variance analysis and support schedules.                 0.3   1,065.00             319.50
       8      9/26/23 Pease, Charles      Review and offer approval for certain account payable matters, attention to insurance              0.6     775.00             465.00
                                          matters, attention to employee health claims, and diligence regarding other finance matters.

       8      9/27/23 Cazares, Trevor     Prepare alternative August Cash Receipt model using different data source to assist with           2.8    530.00         1,484.00
                                          pharmacy receipt reconciliations.
       8      9/27/23 Cazares, Trevor     Prepare August Cash Receipt model to assist in pharmacy receipt reconciliations with               0.8    530.00              424.00
                                          DAP.
       8      9/27/23 Cazares, Trevor     Update liquidity model with prior week's actuals, reconcile model to bank, and prepare the         2.9    530.00         1,537.00
                                          weekly liquidity variance analysis.
       8      9/27/23 Pease, Charles      Review, perform diligence, and draft email responses to buyer regarding cash                       2.6    775.00         2,015.00
                                          reconciliation.
       8      9/28/23 Cazares, Trevor     Prepare Borrego actuals through 9/22/23 report to share with engagement leadership.                0.9    530.00              477.00

       8      9/28/23   Cazares, Trevor   Review model and liquidity deliverables, submit deliverables for review.                           0.4     530.00          212.00
       8      9/28/23   Lee, Isaac        Review draft of weekly cash flow forecast variance analysis and support schedules.                 0.3   1,065.00          319.50
       8      9/29/23   Cazares, Trevor   Review liquidity deliverables and draft email to FTI to share liquidity update.                    0.3     530.00          159.00
       8      9/29/23   Cazares, Trevor   Update August Borrego cash receipt model by reclassifying certain receipts.                        0.4     530.00          212.00
       8      9/29/23   Pease, Charles    Review August cash transactions and reconcile to further reconciliation provided by Buyer;         1.8     775.00        1,395.00
                                          participate on call with Buyer regarding cash reconciliation; draft email to management
                                          regarding amount due to Buyer.
 8 Subtotal                                                                                                                                 58.6                  38,133.00
     10       9/1/23    Hull, Sarah       Review and document email support for grant audit for Ryan White Part B.                           0.3    555.00           166.50
     10       9/7/23    Hull, Sarah       Participate on call with R. MacIsaac (CEO), CRO, C. Pease (ACG), A. Taylor, E. Tigard,             1.1    555.00           610.50
                                          and J. Stith (DAP) regarding receivables collections.
       10     9/15/23 Hull, Sarah         Participate in weekly call with Greenway, DAP and legacy Borrego team members, with                1.1    555.00              610.50
                                          follow-up communication.
            Case 22-02384-LT11                Filed 12/04/23                  Entered 12/04/23 17:41:51                              Doc 1169         Pg. 15
                                                                               of 15
                                                                  EXHIBIT C
                                     BORREGO COMMUNITY HEALTH FOUNDATION, LLC., et al. - CASE NO. 22-02384 (LT11)
                          COMPLETE ACCOUNTING OF PROFESSIONAL FEES FOR ADDITIONAL PERSONNEL INCLUDING ITEMIZED
                                              TIME RECORDS BY CATEGORY IN CHRONOLOGICAL ORDER
                                              FOR THE PERIOD SEPTEMBER 1, 2023 TO SEPTEMBER 30, 2023
Code             Date   Professional                                  Activity                                    Hours Rate                             Fees
       10      9/18/23 Hull, Sarah       Participate on call with S. Smith (DAP) and P. Tadros (Auditor) regarding Ryan White          1.3   555.00             721.50
                                         Audit Findings and needs.
       10      9/18/23 Hull, Sarah       Participate on call with S. Smith (DAP) regarding next steps for Ryan White grant             0.3   555.00             166.50
                                         compliance.
       10      9/19/23 Hull, Sarah       Participate on call with S. Smith (DAP) regarding Ryan White Audit needs.                     1.0   555.00             555.00
       10      9/21/23 Hull, Sarah       Complete Indirect analysis for the two Ryan White periods to comply with auditor request.     0.5   555.00             277.50

       10      9/21/23 Hull, Sarah       Participate on call with R. MacIsaac (CEO) regarding Ryan White audit and FY23 cost           0.8   555.00             444.00
                                         report needs.
       10      9/22/23 Hull, Sarah       Participate on weekly status call with Borrego, DAP, and Greenway.                            0.7   555.00             388.50
       10      9/25/23 Hull, Sarah       Participate on call with R. MacIsaac (CEO), CRO, C. Pease (ACG) regarding AR write-off        0.6   555.00             333.00
                                         (partial attendance).
       10      9/27/23 Hull, Sarah       Participate on month end simplification reporting call with A. Taylor (DAP) and               0.3   555.00             166.50
                                         Greenway.
     10        9/29/23 Hull, Sarah       Participate on weekly status call with Borrego and Greenway.                                  0.8   555.00           444.00
 10 Subtotal                                                                                                                           8.8                  4,884.00

Grand Total                                                                                                                          323.7              $ 218,660.00
